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UNL$ED sTATEs op AMERICA : sUPERsEDINGINDIcTMENT
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- v. - : s1 ivcr.sss_ 357(ssepg;)

DAVID BLASZCZAK,
THEODORE HUBER,;
ROBERT OLAN and

CHRISTOPHER WORRALL,

 

 

Defendants.

coUNT oNE*
(Conspiracy to Convert Property of the United States, to Commit
Securities Fraud and to Defraud the United States)

The Grand Jury charges:

Relevant Entities and Individuals

 

l. At all times relevant to this Indictment, Investment
Advisor-A was a-_: privately held group of associated fund advisors
specializing in healthcare-related investments. As of 2017, Investment
Advisor<A managed multiple hedge funds and other investment vehicles
and had more than $7 billion in assets under management. Investment
Advisor-A's primary place of business is New York, New York.

2. At all times relevant to this Indictment, the Centers for

Medicare & Medicaid Services ("CMS"), a component of the United States

Department of Health and Human Services ("HHS"),

 

administered, among other thingsT-L_Medicare and Medicaid.¥he Ih§

Center for Medicare ("CM") is the component of CMS that is responsible
for setting Medicare reimbursement rates for healthcare providers.

3. At all times relevant to this Indictment, DAVID BLASZCZAK,
the defendant, served as a consultant at a number of Washington, D.C.-
based firms that, in exchange for a fee, provided "political
intelligence," which included analysis of federal agency decision-
making with respect to, among other topics, how changes in Government-
provided insurance coverage` and reimbursement rates would impact
publicly-traded healthcare- related companies. Prior to joining the
private sector, BLASZCZAK had worked as a Special Assistant and Health
Insurance Specialist at CMS. Between in or about January %9%%_2009 and
in or about November 2014, Investment Advisor-A paid mere-_%han
§pproximately $%GSYOQG_QQQL§QQiin consulting fees to the various firms
that employed BLASZCZAK.

4. At all times relevant to this Indictment, CHRISTOPHER
WORRALL, the defendant, was a CMS employee. WORRALL began working at
CMS in or about 1999. Since in_e£_aheas_éanuasy_£@&%at least in or
about January 2009, WORRALL was a Health Insurance Specialist, whose
responsibilities included, among other thinqs, providing technical

direction, oversight, and support on issues related to the development

 

and integration of cross-cutting_ payment policies in the national

payment systems and fee schedules. At various times during the

Conspiracy, WORRALL worked in the Director's Office for CM as a Special
Assistant and Senior Technical sdvisor. By virtue of his position in
the Director‘s Office, WORRALL had broad access to CMS's confidential
deliberations about upcoming reimbursement decisions. WORRALL served as
the project manager for an internal, non-public dasa-_Q§£§;management
system called "DataLink/DataLinkZ Project." lt contained CMS's most up-
to-date claims data that CMS used to inform its decision-making. As
discussed more fully below, DAVID BLASZCZAK, the defendant, commonly
referred. to this data- management system at CMS as the "real-time
database."

5. At all times relevant to this Indictment, THEODORE HUBER,
the defendant, was a partner and analyst at Investment Advisor-A, where
he was a member of the Medical Devices Team (the "Devices Team") . As
an analyst, HUBER'S job was to analyze investment decisions and
recommend potentially profitable trades for Investment Advisor-A.

6. At all times relevant to this Indictment, ROBERT OLAN, the
defendant, was a partner and analyst at Investment Advisor-A, where he
was a nember of the Devices Team. As an analyst, OLAN‘s job was to
analyze investment decisions and recommend potentially profitable
trades for Investment Advisor-A.

7. At all times relevant to this Indictment, Jordan Fogel, a
co-conspirator not named as a defendant herein, was a partner and

analyst at Investment Advisor-A. From in or about 2006 through in or

about late 2012, Fogel worked with THEODORE HUBER and ROBERT OLAN, the
defendants, on the Devices Team. Thereafter, until in or about 2016
when he departed Investment Advisor-A, Fogel worked as an

analyst on Investment Advisor-A's Healthcare Services Team

(the "Services Team").

ii At-all~times_relevans_tejthis_ladietmentTeenspira%eP-§t all

times relevant to this lndictment, a coconspirator not named as a

 

defendant herein ("CC-l") served as Investment Advisdr~A¢s-Advisor-A's
managing partner. CC-l had primary-_=responsibility for approving all
investment decisions and supervising all analysts, including THEODORE
HUBER and ROBERT OLAN, the defendants, and Jordan Fogel. CC-l
encouraged his analysts to submit unanimous trading recommendations for
his ultimate decision. These recommendations were made in person, over
the phone, and through email.

9. At all times relevant to this Indictment, a coconspirator
not named as a defendant herein ("CC-2") was a political intelligence
consultant retained by Investment Advisor- A.

lO. At all times relevant to this Indictment, Lobbyist-l was an
employee of Drug Company-l, a multinational biotechnology company based
in California. Among other things, Drug Company-l developed and sold
drugs, including kidney dialysis-related drugs that were affected by
CMS's reimbursement decisions. Lobbyist-l previously worked. at CMS,

where Lobbyist-l met DAVID BLASZCZAK, the defendant.

ll. At all times relevant to this Indictmenté, Political
Intelligence Consultant-l was a political intelligence consultant
retained by Drug Company-l.

12. At all times relevant to this Indictment:

a. Accuray, lnc. ("Accuray") was a corporation
headquartered in Sunnyvale, California. Accuray's stock traded on the
National Association of Securities Dealers Automated Quotations Stock
Market ("NASDAQ") and was listed under the ticker symbol "ARAY."

b. DaVita Healthcare Partners, Inc. ("DaVita") was a
corporation headquartered in Denver, Colorado. DaVita's stock traded on
the New York Stock Exchange ("NYSE") under the ticker symbol "DVA."

c. Elekta AB ("Elekta") was a corporation headquartered
in Stockholm, Sweden. Elekta's stock traded on the Stockholm Exchange
under the ticker symbol "EKTAB."'

d. Fresenius Medical Care AG & Co. KGaA ("Fresenius") was
a corporation headquartered in Bad Homburg, Germany; Fresenius's stock
traded on the Frankfurt Stock Exchange under the ticker symbol "FME."
Fresenius's stock traded on the NYSE through the issuance of American
Depository Receipts ("ADRs") under the ticker symbol "FMS."

e. NxStage Medical, Inc. ("NxStage") was a corporation
headquartered in Lawrence, Massachusetts. NxStage's stock traded on the
NASDAQ under the ticker symbol "NXTM."

f. Varian Medical Systems ("Varian") was a corporation

headquartered in Palo Alto, California. Varian‘s stock traded on the
NYSE under the ticker symbol "VAR.“

CMS Rulemaking Process

 

13. As noted above, CM is the component of CMS that administers
the national payment systems that determine Medicare reimbursement
rates. The national payment systems include the prospective payment
systems ("PPSs"), which is a method of reimbursement in which Medicare
payment is made based on a predetermined, fixed amount, and fee
schedules, which are listings of fees used by Medicare to pay doctors
or other medical providers or suppliers.

iii l4-T-CMS updates the PPSs and fee schedules every' year
through the issuance of proposed, and final rules. These rules are
published in the Federal Register after they have been approved by,
among others, CMS and the Secretaryl of HHS. The release of CMS's
proposed and final rules can impact the stock prices of companies that
offer products and services covered by the PPSs and fee schedules. For

this reason, CMS typically issues its proposed and final rules after

markets close. _
Confidentiality Policies and Prohibitions on Insider Trading

 

15. At all times relevant to this Indictment, CMS's Employee
Nondisclosure Policy prohibited employees from disclosing "nonpublic,
confidential, privileged, or proprietary" information "except as
authorized by law." The policy defined nonpublic information as

"information that an employee gains by reason of Federal employment and

that he/she knows or reasonably should know is not available to the
general public." It further made clear that "no information should be
provided to the public unless already available to the public, such as
through a public web page or another publication." The policy explained
that information learned in the course of CMS employment could be
"'market sensitive' information, meaning that its disclosure may have
stock or bond market implications." It accordingly prohibited CMS
employees, including CHRISTOPHER WORRALL, the defendantr from using the
information to make investment decisions, to tip other people, or
otherwise to "allow the improper use of nonpublic information to
further your own private interest or the interests of another person."
Furthermore, as an employee of the executive branch of the United
States Government, by 2012[_WORRALL was subject to Section 21A(h) of
the Exchange Act (added by the STGCK Act), which provides in relevant
part that “each executive branch employee ... owes a duty arising from
a relationship of trust and confidence to the United States Government
and the citizens of the
United States with respect to materialr nonpublic information derived
from such person's position." Title 15, United States Code, Section
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16. At all times relevant to this Indictment, CHRISTOPHER
WORRALL, the defendant, was subject to the "Standards of Ethical

Conduct for Employees of the Executive Branch," which is codified at

Title 5, Code of Federal Regulations, Section 2635.703. Those standards
state: "An employee shall not engage in a financial transaction using
nonpublic information, nor allow the improper use of nonpublic
information to further his own private interest or that of another,
whether through advice or recommendation, or by knowing unauthorized
disclosure."

17. At all times relevant to this Indictment, CMS prohibited its
employees from receiving gifts from prohibited sources. The policy
defined "gift" to include "any present, gratuity, favor, entertainment,
hospitality, loan, forbearance, or other item having monetary value."
The policy defined "prohibited source" to include l‘any person, company,
or organization" that was, among other things, "[c] onducting business
with CMS" or that "[h]as any interests that might be affected by the
performance or nonperformance of [a CMS employee‘s] official duties.“

lB. At all times relevant to this Indictment, and as set forth
in Investment Advisor-A's compliance manual (the "Compliance Manual")
beginning in 2012, Investment Advisor-A prohibited its
employees from committing insider trading. The Compliance Manual made
clear that no employee could "trade, either personally or on behalf of
others, including the Funds [managed by Investment Advisor-A], while in
possession of material non-public information that is subject to a duty
of confidence or communicate such material non-public information to

others in violation of the law." The Compliance Manual cautioned that

 

because Investment Advisor-A "conducts extensive fgpdamental §esearch

on. the entire healthcare sector in order to develop and implement

 

investment theses[,]" "such___research may sometimes result in

 

[Investment Advisor-A] receiving non-public information about the

 

 

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drafted, Investment Advisor-A brought in outside counsel to train its

 

 

employees on these topics.

 

 

 

The Scheme to Defraud

 

l9. From at least in or about 2642-2009 through at least in or
about 2014, DAVID BLASZCZAK, THEODORE HUBER, I-ROBERT O;BN-OLAW and
CHRISTOPHER WORRALL; the defendants, Jordan Fogel and others known and
unknown, participated in a scheme to obtain and convert to their own
use confidential and material non-public information from CMS insiders
concerning, among other things, CMS's internal deliberations regarding
coverage and reimbursement decisions. As HUBER and OLAN knew, these CMS
insiders included BLASZCZAK's former colleagues with whom he had close
personal relationships, and who were prohibited from disclosing such
information to CMS outsiders.

20. AS a part Of the SCheme, THEODORE HUBER and ROBERT OLAN, the

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defendants, and Jordan Fogel encouraged DAVID BLASZCZAK, the defendant,

to obtain confidential and material non-public information from CMS

insiders. F'or H&E&Heev_between_rn_er_abesHia-Eeh_and_Ale_ZLG-LZT

 

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publievexample, on or about June 12[ 2009, HUBER emailed OLAN, Foqell

 

 

 

and CC-l that BLASZCZAK "wants to take us to play golf at Wingfoot. I

think broadening our relationship with Dave might help maximize the

 

 

value we get from his unigpe flow of info . .. “ At around this same

 

 

time, from in or about May 2009 through June 2009, HUBERl OLAN and

Fogel received material non-public information from BLASZCZAK relating

 

 

 

to a July ll 2009, Physician Fee Schedule proposal by CMS that included

cuts to radiation oncology services. Based, at least in part, on the

 

information provided by BLASZCZAK, HUBER, OLANl and Fogel caused
Investment Advisor-A to make timely and profitable trades in the stock
of Varian.

21. Similarly, in advance of`a §mysician Fee Scheduling Rule

expected to be released in the fall of 2010, Fogel emailed THEODORE

 

HUBER and ROBERT OLAN, the defendants, CC-l and others at Investment

 

 

 

 

Advisor-A on Or about September 29, 2010 that he had spoken to

Blaszczak and "spoke a bit about RadOnc. [T here is clear desire from

both coverage & payment side to fight back against the overpayment &

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overutilization of radiation tx [therapV]. [T]hey‘ve asked AMA to

include in their 5-yr RUC review for targeted cuts. There is a closed-

 

door meeting next week and Blaczack has a guy there. [R]egulation would
be announced in 2011l effective 2012. Definitely worth keeping up on."
22. On or around Septemher 6, 2011, ROBERT OLANJ the defendant[

emailed THEODORE HUBER, the defendant, and Jordan Fogel in responsel to

 

an email from Fogel about a stock they were considering shorting[ and

about the nature of the information they had received from DAVID

 

BLASZCZAK. Specifically, OLAN asked, "So what is public info§Blaszak in

print on) and what do we think we have in our back pocket?"

 

23. Additionally, between in or about March and April 2012,

 

THEODORE 'HUBER and ROBERT OLAN, the defendants, and Jordan Fogel
emailed with DAVID BLASZCZAK, the defendant, about getting confidential
information from a CMS contrac§pr (the ilgm§n Contractor") who was
working on a CMS coding initiative that could have affected
£§imbursemenp_§gtes for over one hundred medical tests andy in turnh

affected the financial prospects of multiple publicly-traded companies.

 

On or about March 26, 2012, Fogel emailed BLASZCZAK to ask whether
BLASZCZAK was "likely to get a read from staffers" about the

reimbursement rates before they were made public. On or about April 27,

 

2012, BLASZCZAK wrote an email to HUBER, OLAN and Fogel to inform them

 

that he had made contact with the CMS Contractor. BLASZCZAK saidr "The

mystery man . . .

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responds. Here's my chance. . . ." HUBER told BLASZCZAK, "Just tell him

 

 

your doing god's work." Fogel chimed in, "That is huge dude . . . don't

 

blow it! You just turned my frown upside down so let us know if he

 

 

bites. [The CMS Contractor] is the `man with the keys to these_
companiesr coffins. . . . " In a separate email chain, HUBER, OLAN and

Fogel discussed the possibility of BLASZCZAK‘s getting inside

 

information from the CMS Contractor. Fogel said, "So you guys know,

 

getting a useful input from [the CMS Contractor] would be way bigger

 

 

than bonanza bananas bazooka in my book.“ OLAN respondedl "Agd. I think

 

odds of DB getting shut down by [the CMS Contractor] are 103%." To

 

which Fogel replied, “I don't know, he‘s pretty good w/ this stuff.

 

 

l'll take the under 103% all day long." The CMS Contractor ultimately

rejected ELASZCZAK‘s attempt to obtain inside information. Nonetheless!

 

 

according to HUBER's notes from an in-person meeting at lnvestor

Advisor-A, BLASZCZAK told HUBER and OLAN that he thought he would "get

 

a look" at the reimbursement rates before CMS made the information

 

 

public.

24. BLTAS a further part of the scheme, DAVID BLASZCZAK, the

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defendantT obtained confidential material non-public

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information from his close friend and former CMS colleague

 

CHRISTOPHER WORRALL, the defendant. BLASZCZAK rconveyed
information obtained from WORRALL to THEODORE HUBER and ROBERT OLAN,
the defendants, Jordan Fogel and others,l:who, knowing that

BLASZCZAK had obtained the information improperly from a CMS insider in
breach of a duty, used the information, in whole or in part, to cause
Investment Advisor-A to purchase and sell securities. HUBER, OLAN and
others caused Investment Advisor-A to confer a pecuniary benefit upon
BLASZCZAK in the form of consulting fees in exchange, in part, for the
confidential and. material nonpublic information that BLASZCZAK

improperly obtained from WORRALL.

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5 . 2-2_.CHRISTOPHER WORRALL, the defendant , knew that DAVID
BLASZCZAK, the defendant, was a political intelligence consultant whose
clients included. hedge funds that traded. based on BLASZCZAK's CMS

predictions. Furthermore, WORRALL frequently discussed private-sector

employment and other business opportunities with BLASZCZAK. For

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instance:

gi In or about September 2011, BLASZCZAK put WORRALL in
contact with Political Intelligence Consultant-l so that WORRALL could
interview for a private sector job with Political Jntelligence
Consultant-l's political intelligence firm. WORRALL commented toy a
family member that working for Political Intelligence Consultant-l
could be a "big opportunity" because of Political Intelligence
Consultant-l's 1'political links." WORRALL further noted that " [i] f I
ever do want to really get into politics, like run for Congress, these
are the types of people I'd need to be around."

b. On or about August 9, 20&42 014, BLASZCZAK asked
WORRALL to become a "part owner" of a new political intelligence firm
that BLASZCZAK was starting. BLASZCZAK told WORRALL, "[m]e and the two
guys that work for me are on pace for 1.7 million total revenues for
2014. I bet we come close to 2 million. by end of year." BLASZCZAK
promised that, if WORRALL joined, they-y::would "kill it working
together." WORRALL responded, "You're like a drunk whore to me. Hard to

resist. Lol. Let's talk."

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6. ZSTThroughout the course of the schemer DAVID BLASZCZAK, the
defendantr communicated with THEODORE HUBER, ROBERT OLAN and
CHRISTOPHER WORRALL, the defendants, and others, in person, over the

telephone and via e-mailr among other means.

July_€T_%Ql%~CMS's Proposed Radiation Oncology

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27. As described. above, beginning' at least as early' as 2009,

 

THEODORE HUBER and ROBERT OLAN, the defendants, Jordan Fogel, and

 

 

others at Investment Advisor-A encouraged DAVID BLASZCZAK, the

defendant, to use his friends and former colleagues at CMSl including

 

CHRISTOPHER WORRALL, the defendant. to wrongfully obtain material non-

public information about proposed cuts to reimbursement rates relating

 

to radiation oncology, among other things, so that they could use the

information to make timely and profitable trades in the stock market.

 

July 6, 2012 Proposed Radiation Oncology Rule

 

;§i 24795-For examplel on or about July 6, 2012, after the
markets closed, CMS announced in a proposed rule that it was planning
to cut reimbursable treatment times for two cancer` procedures: (a)
intensity modulated radiation therapy ("IMRT") from 60 minutes to 307
minutes, and (b) stereotactic body radiotherapy ("SBRT") from 90
minutes to 60 minutes. The American College of Radiology had gathered
data showing lower procedure times for IMRT and SBRT. CMS's

deliberations and eventual decision to adopt that data to inform its

reimbursement policy were both material and non-public.

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29. ZETOn or about May 8, 2012, approximately two months before
CMS publicly announced the, proposed rule, DAVID BLASZCZAK, the
defendant, learned about CMS's planned radiation oncology reimbursement

cuts during a meeting with CHRISTOPHER WORRAhL, the defendant.

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ZSTThe next day, on or about May 9, 2012, DAVID BLASZCZAK,

the. defendant, tipped THEODORE HUBER and ROBERT OLAN, the defendants,

 

and Jordan Fogel about CMS's confidential plans to cut radiation

oncology reimbursement rates.

b.)
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ZJTDuring in or about June 2012,-*i==DAVID BLASZCZAK, the
defendant, continued to tip THEODORE HUBER and ROBERT OLAN, the
defendants, and Jordan Fogel with updates about CMS's internal
radiation oncology deliberations. For instance:

a. On or about June 6, 2012, BLASZCZAK and HUBER had a
telephone call. During the callr BbASZCZAK. reiterated. his radiation
oncology tip and informed HUBER that the preliminary rule was "targeted
for June 27 [, 2012]" although BLASZCZAK thought "it will come a week
or so later." HUBER reported to others at Investment Advisor-A,
including OLAN and Jordan Fogel, that BLASZCZAK was "lying low on this
until close to the release given how charged it is." BLASZCZAK's timing
information was correct. CMS's internal briefing papers stated that
June 27, 2012 was the target release date for the proposed rule. That
timing information was material and confidential.

b. The next day, on or about June 7, Q_Q-LZM, Jordan
Fogel (on behalf of the Devices Team) recommended taking a short
position in Varian, Accuray and Elekta based on information from
BLASZCZAK. Fogel explained in an e-mail to others at Investment

Advisor~A, including HUBER and QLANCLAN: "CMS expects to release ~;June

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27 but DB thinks it slips by a week for the proposal. And who knows if
he or others write something at some point . . . so if it were
tomorrow¢-;=we'd be quite big for this scare, but since it's not we
thought of increasing some now and more in the coming 1-2 wks.“ Twelve
minutes later, CC-l approved short trades in the three stocks.

c. On or about June 11, 2012, BLASZCZAK visited
Investment Advisor-A's Manhattan office and met with HUBER and OLAN to
discuss, among other things, CMS's planned radiation
oncology cuts. During the meeting, BLASZCZAK reiterated his radiation
oncology tip and made clear that it was based on his knowledge of
internal CMS deliberations. According to HUBER'S meeting notes, which
were posted on the "Matrix," Investment Advisor-A's internal repository
of investment-related information, BLASZCZAK said "Staff has proposed

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this. there is concern about politics."

;§i ZBTDAVID BLASZCZAK, the defendant, emphasized that his
radiation oncology tip was non-public and that, because of his
relationships-_;::with CMS insiders, rival political intelligence
consultants were unlikely to have access to similar information. For

instance:

ava. On_ or about June 11, 2012, Jordan Fogel received. a

 

research note from another political intelligence consultant
("Consultant-l") that predicted that CMS's proposed radiation oncology

rule would'contain a three to five percent cut in reimbursement rates.

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Fogel forwarded the research note to BLASZCZAK, copying THEODORE HUBER
and ROBERT OLAN, the defendants, and asked whether Consultant-l was
"just totally missing the time adjustment issue." BLASZCZAK responded
to Fogel, HUBER and OLAN and emphasized the non-public nature of his
information: "Yes but the time adjustment is not out there so would not
expect[] notes on it."

b. On or about June 11, 20%%2 012, BLASZCZAK discussed
Consultant-l's radiation oncology prediction with another hedge fund
client. BLASZCZAK explained: "-[Consultant-l] doesn't seem to know
whats on the table. [Consultant-l] used to be my associate - so I know
[Consultant-l] well. I'm just waiting to see if any politicals block a
big cut. If politicals block it - year its a 3-5% cut. If not - then
its a enormous cut."

c. On or about June 12, 2012, BLASZCZAK emailed Fogel

enid-and contrasted Gensu&tant-llgonsultant-1' s lack of access to CMS

 

insiders. BLASZCZAK said: "Ive known [Consultant-l] for a long time -
he‘s a good guy and was my associate for awhile but I can say with 100%
confidence he doesn't know anyone at cms. His guesses are just wild
random guesses. I wouldn't read into what he says." Fogel replied: “I
agree w all u `said." Fogel then forwarded BLASZCZAK}s dismissal of
Consultant-l to HUBER and CLAN and said, "Such has been my contention

about [Consultant-l]-"

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BSTBetween on or about June 7, 2-9%%-2012 and June 14, 2

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0&2;2;§, Investment advisor-A sold short approximately 195,000 shares
of Varian, 624,551 shares of Accuray and 118,000 shares of Elekta based
on the material non-public information received from DAVID BLASZCZAK,
the defendantr about CMS's internal radiation oncology deliberations.
iii On or about June 14, 2012, CC-2 contacted Jordan Fogel by
telephone and tipped him about CMS's planned radiation oncology cuts.
According to Fogel‘s call notes, which Fogel circulated to THEODORE
HUBER and ROBERT OLAN, the defendants, among others, CC- 2 explained
that "CMS strongly considering reducing # of minutes assoc w IMRT
Assumption of 60 minutes . . . really more like 2_9-39_20-30 minutes
30-40% cut to the code." The subject of Fogel's iemail was "[CC-2]
on RadOnc - would short more aggressively today." Fogel later explained
in an email that CC-2 "hasn't spoken to anyone and [CC-2]'s now the 2nd
one with the same message as DB which is a big negative and totally off

the radar. So the risk of this getting out there before the [CMS

announcement] is now higher (target for [CMS announcement] is last wk

of June, more likely first wk July):r thus justifying moving up our
timelines for exposure by some amount." HUBER responded to Fogel and
GLAN-OLAN to say that he "-[a]greed on shorting more." HUBER went on to

note: “Personally I'd be very large in this trade by the end of the
month if nave's inputs don't change (300BPS or more between the three
[tickers]). If [CC-2] is starting to get noisy about this (Dave has

been very quiet) then VAR could trade we_+a+_ a k for the next couple

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of weeks so I'd short more now." HUBER later added that “[o]f course a
lot depends on the inputs we're getting back as the month evolves. Dave
should be giving us updated info on timing and content later in the
month.“ HUBER explained that he wanted to monitor the stocks‘
performance "for the balance of the month" in order to see whether
"Dave's whispering and [CC-2]'s yacking have an impact. In that case,
we'd feel pain if the white house squashes cuts at the llth hour_"

iii SLTThe next day, on or about June 15, 2012, Investment

Advisor-A placed orders to short 90,000 shares of Varian, 1,040,000

shares of Accuray, and 75,000 shares of Elekta. On or about June%&r

 

18, 2012, Investment Advisor-A placed:p§ders to short 250,000 shares

 

 

of Varian and 80,000 shares of Elekta. On or abpgp:§une

19, 2012, Investment Advisor-A placed orders to short 103 253 shares

 

 

 

of Elektaym§pd, o pry§pogt June 201 2012, Investment Advisor-A plaq§d

 

orders to short 62,000 shares of Elekta.
36- BZTIn advance of the announcement of CMS's proposed
radiation oncology .rule, THEODORE HUBER and ROBERT OLAN, the

defendants, and Jordan Fogel frequently spoke with DAVID BLASZCZAK, the

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defendant, to obtain updates. For instance, on or about June 21, 2012,
HUBER told OLAN and Fogel: "I want to talk to [BLASZCZAK] daily for the

balance of the month.“

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7. SSTThe next day, on or about June 22, 2012, DAVID BLASZCZAK

and CHRISTOPHER WORRALL, the defendants, met- at CMS. During that
meeting, WORRALL and BLASZCZAK discussed, among other things, a
confidential, internal CMS document. This document contained
information that, in BLASZCZAK's view, was relevant to Investment
Advisor-A‘s evaluation of NxStage stock. THEODORE HUBER, the defendant,
and BLASZCZAK spoke by phone after the CMS meeting. After the call,
HUBER reported to ROBERT OLAN, the defendant, and
Jordan Fogel that he had spoken to BLASZCZAK about NxStage and then had
"checked in on rad one too. No news there yet."

-3-4_.‘38. On Or about June 29, 2012, THEODORE HUBER and DAVID
BLASZCZAK, the defendants, spoke by telephone. HUBER` circulated his
call notes in an email to others at Investment Advisor-A, including

ROBERT OLAN, the defendant, and Jordan Fogel. Those notes state:

There was a meeting 6%%¥-6{2 7 between OMB and
senior staff at CMS to sort through outstanding
issues in the HOPPs rule about to be published.
Dave heard from an attendee that Rad One was not
on the agenda. This makes Dave believe its on
track. Dave asserts that if something had
changed, he would have heard about it - no new
news on rad one i [s] good news. I'd add to our
position given the date (CMS targeted today for
publication of the rule but Dave thinks its next
week) , price moves and this input. I'd do
another 50 bps.

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Within minutesv~£=lnvestment Advisor-A began shorting additional

shares of Varian.

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:§y SSTOn or about July 2, 2012, Jordan Fogel reported his top
trading ideas to CC-l. The radiation oncology trades were listed as his
"Top Short." Under "Thesis," Fogel explained: "[Blaszczak] & [CC-2]
inputs on pending reimbursement cuts to be proposed in phys fee and
hospital outpatient rules. Not on radars of sell- side, buy-side, or
industry coming in and should create some shock value. End result is

likely to be softened vs. initial proposal but should be there big for

the scare."

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:py SSTOn or about_July 2, 2012, DAVID BLASZCZAK, the defendant,
circulated a note to certain clients, including Investment Advisor-A.
In the note, BLASZCZAK reported the radiation oncology prediction thatl
he had first shared with THEORDORE HUBER and ROBERT OLAN, the
defendants, and Jordan Fogel on or about May 9, 2012. In response to
seeing BLASZCZAK's tip being disseminated to his broader client base,
OLAN wrote an email to HUBER, Fogel and others at Investment Advisor-A
and said, "Thar she blows."

gpi BJTOn or about July 6, 2012, after the markets closed, CMS
released the preliminary radiation oncology rule. As_DAVID BLASZCZAK,

the defendant, had predicted, CMS proposed to cut the reimbursable

treatment time for IMRT from 69_6 0 minutes to %0_3 0 minutes and the

 

reimbursable treatment time for SBRT from 90 ndnutes to 60 ndnutes.

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After the announcement, Fogel circulated the text of the CMS rule
within Investment .Advisor-A, including to THEODORE HUBER and_ ROBERT
OLAN, the defendants, and noted that the IMRT and SBRT reductions were
"exactly as we expected."

igi BSTOn or about July 9, 2012, the next trading day after CMS
publicly released. its proposed radiation oncology rule, Investment
Advisor-A began covering its short positions in Varian, Accuray and
Elekta. By the close of the trading day, Varian‘s stock price had
decreased by 3% (and closed at $57.94 per shareL:. Varian's trading
volume was more than 200% higher than the prior trading day. Elekta's
stock price decreased by 1.97% (and closed at $45 07 per share).
Elekta's trading volume was more than 180% higher than the prior
trading day. Accuray's stock price only decreased by .71% (and closed
at $6.30 per share). Accuray's trading volume was 20% higher than the
prior trading day. Investment Advisor-A made more than $1,851,000
trading on inside information provided by DAVID BLASZCZAK, the
defendant.

iii BBTOn or about July 17, 2012, following CMS's release of the
proposed radiation oncology rule, certain CMS staff members who worked
on the proposed radiation oncology rule obtained a copy of the July 2,
2012 note written by DAVID BLASZCZAK, the defendant. One CMS staff

member remarked, "Where does he get his information from? It is pretty

unbelievable and will probably blow up at some point." A second CMS

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staff member responded, “Don't know but it is obviously someone with
access to our impact papers. I just can't see the motivation for
sharing this information. I would doubt someone is trading based on it
as [it] would be both a crime and require lying on financial disclosure

reports which does not seem worth the risk."

44. 4sTOn or about August 2, 2012, an employee at Investment
Advisor-A, who was responsible for contracting with political
intelligence consultants HLEmpleyee-+["Employee- "), emailed with the

Devices Team to discuss whether Investment Advisor-A should pay a
second quarter 2012 discretionary bonus to Political Intelligence Firm-
1, the firm that employed DAVID BLASZCZAK, the defendant. In response
to Employee-l's email, THEORODRE HUBER, the defendant, wrote, "I think

Dave earned his bonus with his work on Rad-yOne Q2. We did pretty well

on that and it was really 100% Dave [.]" ROBERT OLAN, the defendant,
respondedr "I agree." Investment Advisor-A subsequently paid Political

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Intelligence Firm-l $47,500, which included_ a $29,000 discretionary
bonus. That was the highest quarterly bonus Investment Advisor-A paid
Political Intelligence Firm-l in 2012-.

QMS's Proposed Kidney Dialysis Rules

 

5. Additionallyl beginning at least as early as June 2009,

THEODORE HUBER and ROBERT OLANg the defendants, Jordan Fogel, and

 

others at Investment Advisor-A encouraged DAVID BLASZCZAKJ the

 

defendant, to use his friends and former colleagues at CMS, including

 

 

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CHRISTOPHER WORRALL, the defendant, to wrongfully obtain material non-

 

public information about proposals to revise QMS's reimbursement rates

 

and.practices, relating to services for End Stage Renal Disease or

 

"ESRD," including the "bundling" of services, so that they could use

 

that information to make timely' and profitable trades in the stock

market. For instancgy on or around June 26, 2009, HUBER emailed OLAN to

 

ask him “have u used [B]laszczak on CMS/dialysis bundling?" and stating
"seems like he could be a resource in this."

July 1, 2013 Proposed Kidney Dialysis Rule

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4170n or about July 1r 2013, after markets closed, CMS
announced in a preliminary rule that it planned to cut the
reimbursement rate for various kidney dialysis treatments, services and

drugs (known as the "base rate") by 12%.

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=;i 427Prior to the announcement, the market had been
anticipating that CMS would cut the base rate, largely due to a
December 2012 studyr by' the Government Accountability' Office ("GAO")
that found that the utilization of kidney dialysis drugs had sharply
declined between 2007 and 2011. The study indicated that, because the
base rate was established on 2007 utilization numbers, CMS may have
been overpaying for kidney dialysis care. Following the GAO report, in
or about January 2013, Congress passed the American Taxpayer Relief Act

of 2012 ("ATRA"L_, which empowered CMS to reduce the kidney dialysis

base rate by comparing 2904-2 007 utilization data with 2012

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utilization data. Then, in or about May 2013, the HHS Office of
Inspector General ("HHS OIG") released a report that examined_ 2011
claims data and identified a decrease in kidney dialysis drug
utilization.

iii 437Following ATRA's passage, CHRISTOPHER WORRALL, the
defendantr was asked to work on the kidney dialysis rule at CMS and,
specifically, to explore "what initiatives are in place with our
monitoring that could assist in decision making in the near future." In
other words, because Congress had mandated CMS to base future policy on
up-to-date drug utilization data, the confidential database that
WORRALL managed was going to be central to the kidney dialysis rule.

iii 44TIn or about late January 2013, DAVID BLASZCZAK and
CHRISTOPHER WORRALL, the defendants, met for lunch at CMS. Following
that meeting, BLASZCZAK contacted Lobbyist-l, who closely followed
CMS‘s kidney dialysis plans because of their potential impact on two of
Drug Company-l's dialysis-related drugs. BLASZCAK told Lobbyist-l, "fyi
- my friend Chris got promoted at CMS. He is now the [Technical

Advisor] to [four senior CMS officials]. So basically covers A, B, C,

and D of CMS. That is the best job ever at CMS - since he has his hands

in all areas!" Lobbyist-l responded, "Great on your well placed
source!" "A, B, C, and D of CMS" referred to Medicare Parts A, B, C and
D.

0. 4BTOn or about February 28, 2013, DAVID BLASZCZAK, the

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defendant, contacted Jordan Fogel with a list of his current focus
areas, which included kidney dialysis. Fogel responded by telling

BLASZCZAK that he had left, _ the Devices Team. and. had joined the

 

Services Team. Fogel told BLASZCZAK that he wanted to "catch up soon
and figure out how we can re-ignite the Blaszczak-Fogel money printing
machine."

51. 4€TOn or about MarCh 5, 2013, DAVID BLASZCZAK, the

 

 

defendant, visited CMS.T Days later, on or about March 8, 2_9&32013,
BLASZCZAK emailed CHRISTOPHER WORRALL, the defendant, to introduce him

to Senate Staff Member-l, a staff member on the Senate Finance

Committee, the committee with jurisdiction over CMS. After he made the
introduction, BLASZCZAK told WORRALL, "after a certain amount of years
in the government your knowledge rand experience is going to be
extremely valuable. You might as well meet as many people as possible
along the way. That's what i was thinking and what i'd do[.]" WORRALL
responded, "I do appreciate you making offers to put me in touch with
people like this."

§§i 44T1n Or about MarCh 2013, CHRISTOPHER WORRALL, the
defendant, gave DAVID BLASZCZAK, the defendant, two confidential,
internal documents related to CMS's kidney dialysis rule. The first
document was a February 6, 2013 PowerPoint slide deck used to brief the

CM Director (WORRALL's boss) about the kidney dialysis rule (the

"February 6 slide deck") . The February 6 slide deck Tcontained

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internal analysis and policy recommendations. It also contained a
warning that the slides were "for internal government use only" and
that "[u]nauthorized disclosure may result in prosecution to the full
extent of the law." WORRALL had received a copy of the February 6 slide
deck via email on or about February 8, 2013. The second document was a
February 22, 2013 PowerPoint slide deck (the "February 22 slide deck")
that WORRALL had prepared for the CM Director to use at a presentation
to a nembership organization for kidney dialysis providers. Although
the February 22 slide deck had been prepared for a public presentation,
it included (for internal CMS reference only) non-public data from the
confidential database that WORRALL managed. When circulating the
February 22 slide deck within CMS, WORRALL noted that he was including
the non-public data "more as an FYI for discussion than anything else.
I don‘t think it should be publicly disclosed." WORRALL nonetheless
disclosed the data to BLASZCZAK.

iii 48T0n or about March 13, 2013, DAVID BLASZCZAK, the
defendant, scanned a hard copy' of the February 22 slide deck. He
renamed the document "ESRDrealtimedata" - referring to CMS‘s
confidential database managed by CHRISTOPHER WORRALL, the defendant -
and then emailed the document to Lobbyist-l. BLASZCZAK wrote, " [S]ee
attached for the latest data regarding ESRD [end- stage renal disease]
utilization ... I think the data is up to Jan 1, 2013 [.]" BLASZCZAK

cautioned, "It‘s very important to keep this info CONFIDENTIAL and

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don't send to others outside [of Drug Company-l]."

;4:;_ 4-9TOn or about March 14, 2013, DAVID BLASZCZAK,._:the
defendant, scanned the February 6 slide deck. The slides were printed
two-to-a-page and bore a "February 8, 2013" print date in the upper
right corner of each page. BLASZCZAK took steps to sanitize the
document. First, he redacted the confidentiality warning at the bottom
of each page. Then, he redacted the "February 8, 2013" date from each
page, except one, which still bore a print date. BLASZCZAK then emailed
the document to
Lobbyist-l and instructed, "please don't send to anyone outside [Drug
Company-l]s;" Emailing with Political Intelligence Consultant-l
afterward, BLASZCZAK reported, "I basically gave [Drug Company-l] the
CMS plans for the proposed rule. lt was in the slides I sent them and
outlines what cms intends to do. They should be good there - although
the rebase number is yet to be decided. l also gave [Drug Company-l]
all the latest ESRD real time data cms has gathered thru their
database."

iii Lobbyist-l was enthusiastic about the internal kidney
dialysis documents DAVID BLASZCZAK, the defendant, had provided. On or
about March 14, 2013, Lebby+s%~&_Lobbyist-l informed BLASZCZAK that his
"stock remains high here!" and, referring to the confidential documents

he had obtained from CHRISTOPHER. WORRALL, the defendant, Lobbyist-l

remarked "Great Intelintel, Fantastic!" Lobbyist-l then told BLASZCZAK

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-- who had recently switched consulting firms --an anecdote about the
person who had replaced BLASZCZAK. Lobbyist-l said that the "new Dave
has been told [by BLASZCZAK's old firm] to be very careful with running
with detail that is not public knowledge. So for instance when he talks
with CMS staff he has to say 'don‘t tell me anything you don't want
made public [.]"l Lobbyist-l reported that one of Lobbyist-l's
colleagues at Drug Company-l told the "new Dave" that he was "going to
suck at your job then." Lobbyist-l informed-_::BLASZCZAK that he/she
believed "CMS is also skittish of giving §aeel_intel to people because
info got out that was not public and there is a big problem."

=éi SLTOn or about May 4, 2013, THEODORE HUBER, the defendant,
emailed DAVID BLASZCZAK, the defendantr and copied, among othersr
ROBERT OLAN, the defendant. In the emailr HUBER asked BLASZCZAK whether
he had “any views here on what might be coming" in the proposed kidney
dialysis rule. HUBER added that "others are calling for up to a 5% cut
due to the rebasin [g] BLASZCZAK informed HUBER and OLAN, on or about
May 6, 2013, that "CMS is definitely pushing for a cut on the higher
end in dialysis. They sent a strong warning to people the other week to
be prepared for a significant cut."

:;i 52T0n or about June 12, 2013, Political Intelligence
Consultant-l emailed DAVID BLASZCZAK, the defendant, and asked, "Chris

Worral [sic] - when is your lunch - [Drug Company-l] has a qstn re

secret database[.} "

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ppg SSTOn or about June 714, 2013, DAVID BLASZCZAK and
CHRISTOPHER WORRALL, the defendants, attended a baseball game together.
Four days later, on or about June lB, 2013, BLASZCZAK forwarded Jordan
Fogel his kidney dialysis prediction and explained that he was "much
higher than others on a cut." Fogel asked, "How high? 4-5%?“ Blaszczak
replied, "12% total but phased in over 3 years 5e@5#%¥he%_50[25[25."
.That prediction mirrored CMS's internal proposal for the proposed
kidney dialysis rule, which was confidential.

iii 54TOn or about June 25, 2013. Jordan Fogel checked in with
DAVID BLASZCZAK, the defendant, on the proposed kidney dialysis'rule.
BLASZCZAK reported, "No change in my numbers.i I am pretty confident."
_;;Shortly thereafter, Fogel submitted the Services Team's unanimous
recommendation to short Fresenius stock and ADRs based on BLASZCZAK‘s
inside information. 7 Minutes laterT_y
Investment Advisor-A entered orders to sell short 303,000 shares of
Fresenius's ADR (of which. 33,665 shares were executed) and 138,000
shares of Fresenius's stock.

ppg 55T0n or about June 29, 2013, DAVID BLASZCZAK, the
defendant, confirmed that his 12% prediction was based on his
access to the data in the confidential database managed by

CHRISTOPHER WQRRALL, the defendant. Emailing with a client at

another hedge fund, BLASZCZAK explained:

[W] e are off consensus. Most expect a 3-4% cut
(overall) and we are at 12% but phased in over 3
years. The reason for our high prediction amount

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are because the numbers for EPO [epoetin] and

other ESRD drugs have continued to decline in

recent months. The OIG and GAO report only looks

at utilization. numbers up to a certain point_

Alsor those report only look at EPO while we

factor in other ESRD drugs (eg use of IV iron

has significantly dropped as well).
Following this exchange, BLASZCZAK boasted to a colleague: "I am a
beast-beast that cannot be stopped."

=;i SG¢On or about July lr 2013, after the markets closed, CMS
announced the 12% cut (as DAVID BLASZCZAK, the defendant, had
predicted}_. The proposed rule did not include a three-year phase- in,
which the Secretary of HHS had removed prior to the rule's release. Two
hours before the announcement, a member of Investment Advisor-A's
Services Team emailed Jordan Fogel to say "I really hope your boy is
[r] ight on dialysis tonight." After the announcement, Fogel responded,
"Boy was he ever right. . . BLASZCZAK later contacted Fogel and
boasted: "Warren Buffet can
eat it. Nailed the 12% cut on dialysis but no phase in. They gotta give
them a phase in for the final. [DaVita] and FMS got spanked."

:;y SJTDAVID BLASZCZAK, the defendant, published a research
note to his clients on or about July 1,29&3_-2 013 announcing that he
had correctly predicted CMS's 12% kidney dialysis cut. BLASZCZAK
explained that his prediction was based on data kept in the
confidential database managed by CHRISTOPHER WORRALL, the defendant,

which contained up-to-date drug utilization information. BLASZCZAK

stated, "CMS essentially took the top line GAO number but also

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accounted for more recent utilization numbers based on their real-time
database. CMS also factoredv=into their numbers other ESRD drugs such
as IV iron and vitamin D, which increased the cut further than the GAO
numbers."

:;y SBTOn or about July l, 2013, after the public announcement
and after the markets closed, Investment Advisor-A started covering its
short position in Fresenius. As Jordan Fogel and others at Investment
Advisor-A--::discussed their trading strategy, CC-l urged caution:
"Notes already out suggesting it will be pared back [in_ the final
rule]. Lets not get too greedy."

iii SBTOn or about July 2, 2_£&%;2£;, the first trading day
after the public announcement, Fresenius's AbR closed at $32.11 per
share, a 9.5% decrease from the prior trading day. The trading volume
was up more than 12 90;=£% over the prior trading day. Fresenius's
stock reacted similarly. lt closed at $64.71 per share, a 8.94%
decrease from the prior trading day. The trading volume was up more
than 630;:§:2% over the prior trading day. Investment Advisor-A covered
the remainder of its short position by on or about August 2, 2013 and
made more than $865,000 trading on inside information provided by DAVID
BLASZCZAK, the defendant. n

:;g GOTOn or about July 2, 2013, Jordan Fogel wrote to others at

Investment Advisor-A about the kidney dialysis announcement.

Fegel_lFoggL:stated, "Credit to d blazcack [sic] on this one. Wish we

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didnt wuss out but will still make a couple million on it. He also
nailed the home health cuts though we were on wrong side of that trade

He deserves to get paid some for this dialysis call . . . lets not-
get crazy but still. Way more valuable than the other dc clowns put
together I think." Employee-l responded to Fogel: "we are in the
process of contracting‘ with then\ - will definitely take that into
account." The next day, on or about July 3, 2013, Employee-l wrote to
BLASZCZAK: "Can we agree to pay you the amount you suggested ($100K}
with included. a preferential access to pricing and reimbursement /
contracting studies? l am not sure on your side how you could set this
up but if you have some ideas, I would be interested to look at it."

November 22, 2013 Final Kidney Dialysis Rule

 

=§i Slvon or about November 22, 2013, after the market closed,
CMS issued its final kidney dialysis rule. CMS announced that it would
maintain the 12% cut it announced in the July 1, 2013 proposed rule but
that the cut would be phased-in over a three- to-four-year period.
Prior to the announcement, DAVID BLASZCZAK, the defendant, tipped
Jordan Fogel and L_others at Investment Advisor-A that CMS was likely
to maintain the cuts but implement a three-to-four-year phase-in.

ply 62T0n or about July ll, 2013, days after DAVID BLASZCZAK,
the defendant; successfully predicted CMS's preliminary kidney dialysis

rule based. on information from CHRISTOPHER WORRALL, the defendant,

Jordan Fogel emailed BLASZCZAK to tell him that "getting these final

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rules right could. be a huge advantage." BLASZCZAK told. Fogel about
industry efforts to roll back the cuts but explained, again referencing
the confidential database that WORRALL managed, that “CMS has the data
to back it up so it is difficult to argue against." On or about July
31, 2013, Fogel again told BLASZCZAK that Investment Advisor-A wanted
to "nail ESRD=[.]" BLASZCZAK told Fogel that he was "all over
ESRD." He also told Fogel, "l'm trying to focus the most attention on
stuff that can move the needle the most."

§§i: SBTBetween in or about July 2013 and in or about November
2013, DAVID BLASZCZAK, the defendant, updated Jordan Fogel and others
at Investment Advisor-A about the status of internal CMS deliberations
on the final kidney dialysis rule. During this time, BLASZCZAK was in
communication with CHRISTOPHER WORRALL, the defendant. For instance:

a. On or about July 23, 2013, BLASZCZAK emailed WORRALL
to schedule lunch at CMS. As they discussed their schedules, BLASZCZAK
remarked to WORRALL, "I bet you are busy. You are in an awesome and
important position." WORRALL responded, "Yeah. Definitely now working
with just about every senior person in the agency."

b. On or about November 15, 2013, BLASZCZAK and WORRALL
had lunch at CMS. Shortly thereafter, BLASZCZAK exchanged emails with
Jordan Fogel. BLASZCZAK told Fogel that CMS would enact a phase in that
could be as long as four yearsi Fogel expressed surprise at BLASZCZAK's

prediction: "Oh wow u think 4 yrs vs 2-3? Haven't heard the 4."

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BLASZCZAK went on to reveal his knowledge of CMS's internal

deliberations. He told Fogel that,

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within CMS within_eMST_"[t]he[] debate has been 3 or 4" and that it

 

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"[h]ighly unlikely" that CMS would enact a two-year phase in. BLASZCZAK
further explained that "by law they are supposed to adjust the rate per
lower use of drugs. In fact - it is highly likely the utilization rate
has changed even further in CMS favor after the proposed rule." Fogel
forwarded BLASZCZAK's information to others within Investment Advisor-A
and stated that if BLASZCZAK's information were correct and CMS
implemented a 12% cut phased in over four years, then the DaVita "stock
never looks back."

:§i 64T0n or about November 22, 2013, Jordan Fogel recommended
that Investment Advisor-A establish a long position in DaVita stock and
short Fresenius‘s ADRs to hedge the risk around the final rule.

Investment Advisor-A executedT=the trades shortly thereafter. The same

day, after the markets closed, CMS announced the final rule that it

 

would maintain the 12% cut and, adopt a three- to four-year phase in,

precisely as DAVID BLASZCZAK, the defendant, predicted.

lpg GSTFollowing the announcement, Fogel emailed his colleagues
on the Services Team and praised DAVID BLASZCZAK, the defendant, for
his prediction. Fogel wrote, "I told you guys blazcack [sic] is the
man. [H]e has crushed it on these rules both times around. Blazcack

[sic] dead on again. He is the only one who has a clue." Fogel also

congratulated BLASZCZAK directly, telling him: #Great call on all

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fronts DB. "

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SSTOn or about November 25, 2013, the first trading day

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after the CMS announcement, DaVita stock closed more than 8.86% above
the prior day's closing price. Investment Advisor-A made approximately
$1,014,799 on the trades.

Statutory Allegation

 

=§i GJTFrom at least in or about 2942_2009 through at least in
or about 2 014, in the Southern District of New York and elsewhere,
DAVID BLASZCZAK, THEODORE HUBER, ROBERT OLAN and CHRISTOPHER WORRALL,
the defendantsy and others known and unknown, willfully and knowingly
combined, conspired, confederated, and agreed together and with each
other to commit offenses against the United States, to wit, conversion
of United States property, in violation of Title lB, United States
Code, Section 641; securities fraudr in violation of Title lB, United
States Code, Sections 7Bj:jb) and 78ff, and Title 17, Code of Federal
Regulations, Section 240.10b- 5; and to defraud the United States and
an agency thereof, to wit, CMS, in violation of Title 18, United States
Code, Section 371 and Title 5, Code of Federal Regulations, Section
2635.703(a).

:;y GGTIt was a part and an object of the conspiracy that DAVID
BLASZCZAK, THEODORE HUBER, ROBERT OLAN and CHRISTOPHER WORRALL, the
defendants, and, others known and unknown, knowingly would and, did

embezzle, steal, purloin, and. convert to their use and the use of

others records, vouchers, money, and things of value of the United

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States and a department and agency thereof, to wit, CMS, the value of
which exceeded the sum of $1,000r and would and did receive, conceal,
and retain the same with intent to convert it to their use and gain,
knowing it to have been embezzled, stolen, purloined and converted, in
violation of Title lB, United States Code, Section 641.

:iy SSTIt was further a part and an object of the conspiracy
that DAVID BLASZCZAK, THEODORE HUBER, ROBERT OLAN and CI-IRISTOPHER
WORRALL, the defendantsr and others known and unknownr willfully and
knowingly, directly and indirectly, by use of the means and
instrumentalities of interstate commerce, and of the mails, and the
facilities of national securities exchanges, would. and did use and
employr in connection with the purchase and sale of securities,
manipulative and deceptive devices and contrivancesr in violation of
Title 17, Code of Federal Regulations, Section 240.10b-5, by (a)
employing devices, schemes and artifices to defraud; (b) making and
causing to be made untrue statements of material fact and omitting to
state material facts necessary in order to make the statementsl_:made,
in light of the circumstances under which they were made, not
misleading; and (c) engaging in acts, practices, and courses of
business which operated and would operate as a fraud and deceit upon
other persons, in violation of Title 15, United States Code, Sections
78j(b) and 78ff.

75. JOTlt was further a part and an object of the conspiracy

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that DAVID BLASZCZAK, THEODORE HUBER, ROBERT OLAN and CHRISTOPHER
WORRALL, the defendants, and others known and unknown, willfully and
knowingly, using deceit, craft, trickery and dishonest means, would and
did defraud the United States and an agency thereof, to wit, CMS, by
obtaining confidential information about CMS's internal deliberations
in. advance of the agency's rulemaking decisions, thereby impeding,
impairing, defeating and obstructing the lawful function of the agency,
in violation of Title 18, United States Coder Section 371, and Title 5,
Code of Federal Regulations, Section 2635.703(a).
Overt Acts

;§i 44Tln furtherance of the conspiracy and to effect its
illegal objects, DAVID BLASZCZAK,l THEODORE HUBER, ROBERT OLAN and
CHRISTOPHER WORRALL, the defendants, and their co-conspirators,

committed the following overt acts, among others, in the Southern

District of New York and elsewhere:

 

 

gi On or about July 14, 2009, BLASZCZAK and WORRALL met
at CMS.

pp aTOn or about May 8, 2012, BLASZCZAK and WORkALL
met at CMS.

c_ bTOn or about May 9, 2012, BLASCZAK and Jordan

Fogel spoke by telephone.

gp eTOn or about June 7, 2012, HUBER, OLAN-and Fogel

caused Investment Advisor-A to sell short Varian securities.

43

pp dTOn or about June 11,

||Fh

2012,-BLASZCZAK ViSited HUBER
and OLAN at Investment Advisor-A's Manhattan office.
eTOn

or about June 15,
and Fogel

2012,HUBER, OLAN
caused

Investment Advisor-A to sell

short
gi

Varian securities.
£TOnor about June 15,

2012,

OLAN caused Investment
Advisor-A to sell short Elekta securities.

||F

gTOn or about June 29, 2012, BLASZCZAK and HUBER spoke
by telephone.
l i;r hTOn or about June 29, 2012,
Advisor-A to sell short
|

HUBER caused Investment
Varian securities.

li avon or about June 25, 2013, BLASZCZAK and Fogel
communicated by email.
l pp jTOn or about June 25, 2013,
Advisor-A to sell short

Fogel caused Investment
Fresenius securities.

(Title 18, United States Code,

Section 371.)
COUNT TWO

(Conspiracy to Commit Wire and Securities Fraud)
The Grand Jury further charges:
77.

JaTThe allegations contained in paragraphs 1 through 56_;;
and 44-76 of this Indictment are repeated and realleged as though fully
set forth herein.

B.

JSTFrom at least in or about 2942_2009 through at least in
or about 29442 014,

in the Southern District of New York and elsewhere,

44

DAVID BLASZCZAK, THEODORE HUBER, ROBERT OLAN and CHRISTOPHER

WCRRALL, the defendants, and others known and unknown, willfully and
knowingly combined, conspired, confederated, and agreed together and
with each other to commit (a) wire fraud, in violation of Title 18,
United States Code, Section 1343; and (b) securities fraud, in

violation of Title 18, United States Code, Section 1348.

--..]

=;i $4T1t was a part and an object of the conspiracy that DAVID
BLASZCZAK, THEODORE HUBER, ROBERT OLAN and CHRISTOPHER WORRALL, the
defendants, and others known and unknown, willfully' and knowingly,
having devised and intending to devise a scheme and artifice to
defraud, and for obtaining money and property by means of false and
fraudulent pretenses, representations, and promises, would and ldid
transmit and cause to be transmitted. by' means of wire, radio, and
television communication in interstate and foreign commerce, writings,
signs, signals, pictures, and sounds for the purpose of executing such
scheme and artifice, in 'violation. of Title 18, United States Code,
Section 1343.

ppi lt was further a part and an object of the conspiracy that
DAVID BLASZCZAK, 'I'HEODORE HUBER, ROBERT OLAN and CHRISTOPHER WORR_ALL,
the defendants, and others known and unknown, knowingly and
intentionally would and did execute a scheme and artifice to (a)

defraud persons in connection with securities of an issuer with a class

of securities registered under Section 12 of the Securities Exchange

45

Act of 1934 and that was required to file reports under Section 15(d)
of the Securities Exchange Act of 1934, 43-Band (b) obtain, by means of
false and fraudulent pretenses, representations, and promises, money
and property in connection with the purchase and sale of securities of
'an issuer with a class of securities registered under Section 12 of the
Securities Exchange Act of 1934 and that was required to file reports
under Section 15(d) of the Securities Exchange Act of 1934, in
violation of Title 18, United States Code, Section 1348.
(Title 18, United States Code, Section 1349.)
COUNT THREE
(Conversion of Property of the United States)
The Grand Jury further charges:
§éé: #STThe allegations contained in paragraphs 1 through 66-;;
and i%_;§=of this lndictment are repeated and realleged as though fully-

set forth herein¢

CO
N

$JTFrom at least in or May 2012 through at least in or about
July 2012, in the Southern District of New York and elsewhere, DAVID
BLASZCZAK, THEODORE HUBER, ROBERT OLAN and CHRISTOPHER WORR_ALL, the
defendants, knowingly embezzledr stole, purloined, and converted to
their use and the use of others records, vouchers, money, and things of
value of the United States and a department and agency thereof, to wit,
CMS, the value of which exceeded. the sun\ of $1,000, and received,

concealed, and retained the same with intent to convert it to their use

46

and gain, knowing it to have been embezzled, stolen, purloined, and

converted, to witT£

BLASZCZAK, HUBER and OLAN received from WORRALL and others confidential
CMS information about CMS's proposed radiation_ oncology' rule, which
BLASZCZAK, HUBER and OLAN knew had been obtained from CMS, and which
HUBER, OLAN and others used, in whole or in part, to cause Investment
Advisor-A to purchase and sell securities.

(Title 18,T United States Code, Sections 641 and 2.)

COUNTS FOUR Through EIGHT

 

(Securities Fraud)

The Grand Jury further charges:

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=;i JSTThe allegations contained in paragraphs 1 through 66_:;
and sa_lp:of this lndictment are repeated and realleged as though fully
set forth herein.

§éé From at least in or May 2012 through at least in or about
July 29422 012, in the Southern District of New York and elsewhere,
DAVID BLASZCZAK, THEODORE HUBER, ROBERT OLAN and CHRISTOPHER WORRALL,
the defendants, willfully and knowingly, directly and indirectly, by
use of the means and instrumentalities of interstate commerce, and of
the mails, and the facilities of national securities exchanges, used
and employed, in connection with the purchase and sale of securities,
manipulative and deceptive devices and contrivances, in_;violation of
Title 17r Code of Federal Regulations, Section 240 10b-5, by (a)
employing devices, schemes, and artifices to defraud; (b) making and

causing to be made untrue statements of material fact and omitting to

state material facts necessary in order to make the statements made, in

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light of the circumstances under which they were made, not misleading;
and (c} engaging in acts, practices, and. courses of business which
operated and would operate as a fraud and deceit upon other persons, to
wit, in advance of the July l, 2012 public announcement by CMS about
proposed radiation oncology cuts, BLASZCZAK. obtained. material non-
public information from WORRALL regarding the status of CMS's internal
deliberations and plans for the proposed rule and, based in ywhole or
in part on that information, tipped HUBER and OLAN, among othersr who,
based in whole or in7 part on that information, caused Investment

Advisor-A to execute the securities

transactions listed below:

 

 

 

 

 

 

 

 

 

Count Order Dates Transactions
Short sale of 10571000 shares of
4 June 7, 2012 .
Varian
Short sale of 90,000 shares of Varian
5 June 14, 2012
Short sale of 90,000 shares of Varian
6 June 15, 2012
Short sale of 250,000 shares of
7 June 18, 2012 ,
Varian
June 25 and Short sales of 265,000 shares of
8 291 2012 Varian

 

 

(Title 15, United States Code, Sections 78j(b) & 7Bff; Title 17,
Code of Federal Regulations, Section 240.10b-5; and Title 18,
J~United States Code, Section 2.)

COUNT NINE

(Wire Fraud)
The Grand Jury further charges:
ppg BGTThe allegations contained in paragraphs l through GG-Qi

and 44-76 of this Indictment are repeated and realleged as though fully

set forth herein.

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86. From_at least in_p; about May 2012 through at least in

 

 

 

 

 

 

 

or about July 2 012l in the Southern District of New York and
elsewhere, DAVID BLASZCZAK, THEODORE HUBER ROBER'I` OLAN and
CHRISTOPHER WORRALL, the defendants, willfully and }giyowingly,

§§

 

defendanssT_w444£u44y-and_knewing4yr_having devised and intending to

devise a scheme and artifice to defraud, and for obtaining money and
property by means of false and fraudulent pretenses, representations,
and _promises, transmitted. and_ caused. to be transmitted. by' means of
wire, radio, and. television. communication. in interstate and foreign
commerce, writings, signs, signals, pictures, and sounds for the
purpose of executing such scheme and artifice, to wit, BLASZCZAK,
HUBER, OLAN, WORRALL and others schemed to defraud CMS of confidential
information related to CMS's proposed radiation oncology rule by
improperly obtaining that information through deceptive means and then
converting that information to their own use, using cellular telephones
and e-mail communications, for the purpose of executing securities

transactions in Varian-and_y=Elekta_l and Accuray stock.
(Title 18, United States Code, Sections 1343 and 2.)

M

(Securities Fraud)

The Grand Jury further charges:

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87. SZTThe allegations contained in paragraphs l through 66_;$
and 44~76 of this Indictment are repeated and realleged as though fully

set forth herein.

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m

SSTFrom at least in or about May 2012 through at least in or
about July 2 012, in the Southern District of New York and elsewhere,
DAVID BLASZCZAK, THEODORE HUBER, ROBERT OLAN and CHRISTOPHER WORR_ALL,
the defendants, knowingly and intentionally executed a scheme and
artifice to (a) defraud persons in connection with securities of an
issuer with a class of securities registered under Section 12 of the
Securities Exchange Act of 1934 and that was required to file reports
under Section 15(d) of the Securities Exchange Act of 1934, and (b)

obtain, by means of false and fraudulent pretenses, representations,

 

and promises, mone , :and property in connection with the purchase and
sale of securities of an issuer with a class of securities registered
under Section 12 of the Securities Exchange Act of 1934 and that was
required to file reports under Section 15(d) of the Securities Exchange
Act of 1934, to wit, BLASZCZAK, HUBER, OLAN, WORRALL and others schemed
to defraud CMS of confidential information related to CMS's proposed
radiation oncology rule by improperly obtaining that information
through deceptive means and then converting that information to their
own use, using cellular telephones and e-mail communications, for the

purpose of executing securities transactions in Varian_and_! Elekta-y

and Accuray stock.

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(Title 18, United States Code, Sections 1348 and 2.)
COUNT ELEVEN
(Conversion of Property of the United States)

The Grand Jury further charges:

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_§;- 84TThe allegations contained in paragraphs 1 through GS_ZL
and ae-lp:of this Indictment are repeated and realleged as though fully
set forth herein.

gpi BBTIn or about June 2012, in the Southern District of New
York and elsewhere, DAVID BLASZCZAK and CHRISTOPHER WORRALL, the
defendants, knowingly embezzled, stole, purloined, and converted to
their use and the use of others records, vouchers, money, and things of
value of the United States and a department and agency thereof, to wit,
CMS, the value of which. exceeded the sunl of $1,000, and received,
concealedr and retained the same with intent to convert it to their use
and gain, knowing it to have been embezzled, stolen, purloined, and
converted, to wit, BLASZCZAK received from WORRALL a confidential CMS
report with CMS's internal data analysis relevant to NxStage, among

other companies.

(Title lB, United States Code, Sections 641 and 2.)
COUNT TWELVE

(Wire Fraud)
The Grand Jury further charges:

914¢ SSTThe allegations contained in paragraphs l through 66-;;

and 43_76 of this Indictment are repeated and realleged as_;:;hough

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fully set forth herein.

gpi SJTIn or about June 2012, in the Southern District of-;;New
York and elsewhere, DAVID BLASZCZAK and CHRISTOPHER WORRALL, the
defendants, willfully and knowingly, having devised and intending to
devise a scheme and artifice to defraud, and for obtaining money and
property' by' means-sef--..--jneans g§==false and_ fraudulent pretenses,
representations, and promises, transmitted and caused to be transmitted
by means of wire, radio, and television communication in interstate and
foreign commerce, writings, signs, signals, pictures, and sounds for
the purpose of executing such scheme and artifice, to wit, BLASZCZAK,
WORRALL and others schemed to defraud CMS of confidential information
related to CMS's internal data analysis relevant to NxStager among
other companies, by improperly obtaining that information through
deceptive means and then converting that information to their own use,
using cellular telephones and e-mail communications, for the purpose of

executing securities transactions in NxStage stock.

(Title 18, United States Code, Sections 1343 and 2.)
COUNT THIRTEEN

(Conversion of Property of the United States)

The Grand Jury further charges:

 

3. SBTThe, :allegations contained in paragraphs l through 65-;£

and 44_76 of this Indictment are repeated and realleged as though fully

set forth herein.

f

BSTFrom in or about January 2013 through at least in or

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about July 2013, in the Southern District of New York and
elsewhere, DAVID BLASZCZAK and CHRISTOPHER WORRALL, the
defendants, knowingly embezzled, stole,- purloined, and converted. to
their use and the use of others records, vouchers, money, and things of
value of the United States and a department and agency
thereof, to wit, CMS, the value of which exceeded the sum of
$1,000, and received, concealed, and retained the same with intent to
convert it to their use and gain, knowing it to have been embezzled,
stolen, purloined, and converted, to wit, BLASZCZAK received from
WORRALL confidential CMS reports with CMS's internal data analysis and
other confidential information in advance of the proposed kidney
dialysis rule.

(Title lB, United States Code, Sections 641 and 2.)

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GGU:NT_COTINT FOURTEEN

 

(Securities Fraud)

The Grand Jury further charges:

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5. SQTThe allegations contained in paragraphs l through 66_!§

and $4¢-76 of this Indictment are repeated and realleged as though

fully set forth herein.

\O
O\

SLTFrom at least in or about January 2013 through at least
in or about July 2_043;2£;, in the Southern District of New York and
elsewhere, DAVID BbASZCZAKL and CHRISTOPHER, WORRALL, the defendants,
willfully and knowingly, directly and indirectly, by use of the means
and instrumentalities of interstate commerce, and of the mailsr and
the facilities of national securities exchanges, used and employedr in
connection with the purchase and sale of securities, manipulative and
deceptive devices and contrivances, in violation of Title 17, Code of
Federal Regulations, Section 240.10b-5, by (a) employing devices,
schemes, and artifices to defraud; (b) making and causing to be made
untrue statements of material fact and omitting to state material
facts necessary in order to make the statements made, in light of the
circumstances under which they were made, not misleading; and (c)
engaging in acts, practices, and courses of business which operated
and would operate as a fraud and deceit upon other persons, to wit, in
advance iof the July 6, 2043-2 013 public announcement by CMS of its
'proposed kidney dialysis cuts, BLASZCZAK obtained material nonpublic

information from WORRALL regarding QMSLH_QMS's internal data and plans

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for the proposed. rule and tipped. Jordan Fogel, among others, who,
based in whole or in part on that information, caused. Investment
Advisor-A to sell short 33,665 shares of Fresenius ADR on or about
June 25, 2013.

(Title 15, United States Code, Sections 7Bj(b) & 78ff;

Title 17, Code of Federal Regulations, Section 240.10b-5; and
Title 18, United States Code, Section 2.)

COUNT FIFTEEN

(Wire Fraud)

The Grand Jury further charges:

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-.]

92TThe allegations contained in paragraphs l through 66_;;
and. $4-76 of this Indictment are repeated. and realleged. as though

fully set forth herein.

kD
UJ

BBTFrom at least in or about January 2013 through in or
about July 2013, in the Southern District of New York and elsewhere,
DAVID BLASZCZAK and CHRISTOPHER WORRALL, the defendants, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by means of
false and fraudulent pretensesr representations, and promises,
transmitted and caused to be transmitted by means of wire, radio, and
television communication in interstate and foreign commerce, writings,
signs, signals, pictures, and sounds for the purpose of executing such
scheme and artifice, te-wittowit, BLASZCZAK, WORRALL and others

schemed to defraud

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CMS of confidential information related to CMS‘s proposed kidney-
dialysis rule by improperly obtaining that information through
deceptive means and then converting that information to their own use,
using cellular telephones and e-mail communications, for the purpose
of executing securities transactions in Fresenius stock and ADRs.
(Title 18, United States Code, Sections 1343 and 2.)
COUNT SIXTEEN
(Securities Fraud)
The Grand Jury further charges:
ggi 94TThe allegations contained in paragraphs l through 66_;;

and 44-76 of this Indictment are repeated and realleged as though

fully set forth herein.
95100. From atleast in or about January 2013 through in or

about July 2013, in the Southern District of New York and
elsewhere, DAVID BLASZCZAK and CHRISTOPHER WORRALL, the
defendants, knowingly and intentionally executed a scheme and

artifice to (a) defraud persons in connection with securities of an
issuer with a class of securities registered under Section 12 of the
Securities Exchange Act of 1934 and that was required to file reports
under Section 15(d) of the Securities Exchange Act of 1934, and (b)

obtain, by means of false and fraudulent pretenses, representations,

 

and promises, money and property in connection with the purchase, =and

sale of securities of an issuer with a class of securities registered

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under Section 12 of the Securities Exchange Act of 1934 and that was
required to file reports under Section 15(d) of the Securities
Exchange Act of 1934, to wit, BLASZCZAK, WORRALL and others schemed to
defraud CMS of confidential information related to CMS's proposed
kidney dialysis rule by improperly obtaining that information through
deceptive means and then converting that information to their own use,
using cellular telephones and e-mail communicationsr for the purpose
of executing securities transactions in Fresenius stock and ADRs.
(Title 18, United states code, sections 1348 and 2.)

COUNT SEVENTEEN

(Conspiracy to Defraud the United States and to
Convert Property of the United States)

The Grand Jury further charges:

ipiy:BSTThe allegations contained in paragraphs 2_aad_%7_and_4%
§=through 47-71 and 76 of this Indictment are repeated and realleged
as though fully set forth herein.

Relevant Entities and lndividuals

 

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02. 94Tht all times relevant to this lndictment, Investment
Advisor-B was a privately' held group of associated fund advisors
specializing in healthcare-related investments. Until September 2013r
Investment Advisor-B managed various hedge funds. One such fund
focused on long-short equity investments in the healthcare sector
("Fund-l"). Another fund, which operated from in or about 2009 until

on or about September 30, 2013, invested primarily in debt instruments

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issued by healthcare companies ("Fund-Z"). .Investment Advisor-B's
primary place of business was New York, New York.

103. BBTAt all times relevant to this Indictment, and. as set

 

forth in Investment Advisor-B's compliance manuals, Investment
Advisor-B forbid insider trading, that is, "any employee from trading,
either personally or on behalf of others, ... on material non-public

information or communicating material non-public information to others
in violation of the law."

Lpii BSTAt all times relevant to this Indictment, Christopher
Plaford served as a partner in Investment Advisor-B and as Fund- 24
;;s portfolio manager from its inception in or about May 2009 through
its liquidation in 2013. As portfolio manager, Plaford directed the
majority of Fund-2's investments.

ip§i At all times relevant to the Indictment:

gi Gentiva Health Services, Inc. ("Gentiva") was a

 

 

corporation headquartered in Atlantar Georgia. Gentiva's stock traded

on the NASDAQ under the ticker "GTVA."

 

 

pp Amedisys, lnc. ("Amedisys") was a corporation

 

 

headquartered in Baton Rougel Louisiana. Amedisys's stock traded on

the NASDAQ under the ticker symbol "AMED."

The Scheme to Defraud

 

106. 409TFrom at least in or about 2011 through at least in or

about September 2013, DAVID BLASZCZAK, the defendant, Christopher

58'

Plaford, and others known and unknown, participated ill a scheme to
obtain and convert to their own use material non-public information
from CMS concerning, among other things, internal deliberations and
upcoming actions of CMS regarding the reimbursement for and coverage
of certain products and services. Plaford obtained this valuable
information from BLASZCZAK and used it to direct the execution of a
series of securities trades.

107 404TFor instance, in or about June 2013, DAVID BLASZCZAK,
the defendant, provided multiple hedge fund clients, including
Investment Advisor-A and Investment Advisor-B with a prediction that
CMS would rebase its coverage of the home health industry. Under the
Affordable Care Act ("ACA"), Congress empowered CMS to cut 2944_2 014
home health payments by as much as 3.5%. BLASZCZAK correctly predicted
that the cuts would be between 3.25% and 3.5% and informed Christopher
Plaford, in at least one telephone conversation, that his home health
prediction was based on his conversations with CMS insiders. Plaford
used BLASZCZAK's information to trade profitably in Ba¥ita-Gentiva and
Amedisys securities.

Statutory Allegation

 

108. 4927From in or about 2011 through in or about 2013, DAVID
BLASZCZAK, the defendant, and others known and unknown, willfully and
knowingly combined, conspired, confederated, and agreed together and

with each other to commit an offense against the

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United States, to wit, conversion of United States property, in
violation of Title 18, United States Code, Section 641; and to defraud
the United States and an agency thereof, to wit, CMS, in violation of
Title 18r United States Code, Section 371 and Title 5, Code of Federal
Regulations, Section 2635.703(a).

ngy 403¢lt was a part and an object of the conspiracy' that
DAVID BLASZCZAK, the defendant, and others known and unknown,
knowingly would and did embezzle, steal, purloin, and convert to their
use and. the use of others records, vouchers, moneyr and_ things of
value of the United States and a department and agency thereof, to
wit, CMS, the value of which exceeded the sum of $1,000, and would and
did receive, conceal, and retain the same with intent to convert it to
their use and gain, knowing it to have been embezzled, stolen,
purloined and convertedr in violation of Title 18, United States Code,
Section 641.

iépi 40441t was further a part and an object of the conspiracy
that DAVID BLASZCZAK, the defendant, and others known and 'unknown,
willfully and knowingly, using deceit, craft, trickery and dishonest
means, would and did defraud the United States and an agency thereof,
to wit, CMS, by obtaining confidential CMS information that was
disclosed to BLASZCZAK by a CMS employee in violation of CMS's
prohibition on disclosing non-public information1 thereby impeding,

impairing, defeating and obstructing the lawful function of the

60

agency, in violation of
Title 18, United States Code, Section 371 and Title 5, Code of

Federal Regulations, Section 2635.703(a).
Overt Act
lll. igéeln furtherance of the conspiracy and to effect its

illegal objects, DAVID BLASZCZAK, the defendant, committed the
following overt act, among others, in the Southern District of New
York and elsewhere:

gy: aT_In or about June 2013, BLASZCZAK disclosed
confidential CMS information to Christopher Plaford about CMS's
impending home health regulatory action.

(Title 18, United States Coder Section 371.)
COU'NT EIGHTEEN
(Conversion of Property of the United States)

The Grand Jury further charges:

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12. 406TThe allegations contained in paragraphs 2-ané_37_42_;

 

 

through 443$, 97_ehreugh-404-and 495_1§_0f this Indictment are
repeated and realleged as if fully set forth herein.

;é;y LQJTFrom at least in or about 2011 through at least in or
about 2 013, in the Southern District of New York and elsewhere, DAVID
BLASZCZAK, the defendant, knowingly embezzled, stole, purloined, and
converted to his use and the use of others records, vouchers, money,
and things of value of the United States and a department and agency

thereof, to wit, CMS, the value of which exceeded the sum of $1,000,

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and received¢-y::concealed, and retained the same with intent to
convert it to his use and gain, knowing it to have been embezzledr
stolen, purloined, and converted, to wit, BLASZCZAK disclosed to
Christopher Plaford confidential CMS information about impending CMS
decisions, including the June 2013 home health regulatory action,
7 knowing that the information7 had. been obtained7 from CMS and that

Plaford would use the information to purchase and sell securities.

(Title lB, United States Coder Sections 641 and 2.)

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FORFEITURE ALLEGATION

114. 4GBTAs a result of committing one or more of the offenses

alleged in Counts One through Eighteen of this Indictment, DAVID
BLASZCZAK, the defendant (as to acts alleged in Counts One through
Eighteen. of this Indictment), THEODORE HUBER and ROBERT OLAN, the
defendants (as to acts alleged in Counts One through. Ten_ of this
Indictment), and CHRISTOPHER WORRALL, the defendant (as to acts
alleged in Counts One through Sixteen of this Indictment), the
defendants, shall forfeit to the United States pursuant to Title 18,
United States Code, Section 981(a)(l)(C) and Title 28, United States
Code, Section 2461, any and_ all property, real or personal, that
constitutes or is derived from proceeds traceable to the commission of
the offenses alleged in Counts One through Sixteen of this Indictment.

Substitute Assets Provision

 

;;§F 499T1f any of the above-described forfeitable property, as
a result of any act or omission of DAVID BLASZCZAK, THEODORE HUBER,
ROBERT OLAN and CHRISTOPHER WORRALL, the defendants,
a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited with, a

third party;

has been placed beyond the jurisdiction of the

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COUI`t. {'

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gi dT_has been substantially diminished in value; or

pp has been commingled with other property which cannot
be divided without difficulty,
it is the intent of the United States, pursuant to Title 21, United
States Code, Section i_%§%-+p§§;jp), and Title 28, United States Code
Section 2461, to seek forfeiture of any other property of
BLASZCZAK, HUBER, eLAN-Qp§§:and WORRALL up to the value of the
forfeitable property described above.

<T`itie is, United states code, section aai(a) (1) (c)_,-

Title 21, United States Code, Section 853 (p)=;
Title 28, United States Code, Section 2461.)

| FOREPE_ ON posner KHUZAMI

 

Acting United States Attorney

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Form No. UsA-33s-274 (Ed. 9-25-58)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
V.

DAVID BLASZCZAK,
THEODORE HUBER,
ROBERT OLAN and

CHRISTOPHER WORRALL,

Defendants.

SEALEB~SUPERSEDING INDICTMENT

SI 17 Cr. 308-49£@357 §LAK)

§§ 78j (b) &F¥GEH£& 7Sff;

(15 U.s.C.
§ 240.10b-5;

17 C.F.R.
18 U.S.C. §§ 371, 641, 1343, 1348, 1349 &'2;

5 C.F.R. § 2635.703(&).}

-----~JQQN-HT_KIM___________
ROEERT KHUZAMI
Acting United States Attorney

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Foreperson

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Co.m'pa rl_s.on Det_gi|$

 

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